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 David R. Hurst
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 Counsel to the SunEdison Litigation Trust

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
                                                           :
     In re:                                                :            Chapter 11
                                                           :
     SUNEDISON, INC., et al.,                              :            Case No. 16-10992 (SMB)
                                                           :
                          Reorganized Debtors. 1           :            (Jointly Administered)
                                                           :
                                                           :
     SUNEDISON LITIGATION TRUST,                           :
                                                           :            Adv. Pro. No. 18-______ (____)
                                        Plaintiff,         :
                                                           :
                          – against –                      :
                                                           :
     TOKAI CARBON USA INC.,                                :
                                                           :
                                        Defendant.         :
                                                           :


 1
       The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s
       tax identification number are as follows: SunEdison, Inc. (5767); SunEdison DG, LLC (N/A); SUNE Wind
       Holdings, Inc. (2144); SUNE Hawaii Solar Holdings, LLC (0994); First Wind Solar Portfolio, LLC (5014);
       First Wind California Holdings, LLC (7697); SunEdison Holdings Corporation (8669); SunEdison Utility
       Holdings, Inc. (6443); SunEdison International, Inc. (4551); SUNE ML 1, LLC (3132); MEMC Pasadena, Inc.
       (5238); Solaicx (1969); SunEdison Contracting, LLC (3819); NVT, LLC (5370); NVT Licenses, LLC (5445);
       Team-Solar, Inc. (7782); SunEdison Canada, LLC (6287); Enflex Corporation (5515); Fotowatio Renewable
       Ventures, Inc. (1788); Silver Ridge Power Holdings, LLC (5886); SunEdison International, LLC (1567); Sun
       Edison LLC (1450); SunEdison Products Singapore Pte. Ltd. (7373); SunEdison Residential Services, LLC
       (5787); PVT Solar, Inc. (3308); SEV Merger Sub Inc. (N/A); Sunflower Renewable Holdings 1, LLC (6273);
       Blue Sky West Capital, LLC (7962); First Wind Oakfield Portfolio, LLC (3711); First Wind Panhandle
       Holdings III, LLC (4238); DSP Renewables, LLC (5513); Hancock Renewables Holdings, LLC (N/A);
       EverStream HoldCo Fund I, LLC (9564); Buckthorn Renewables Holdings, LLC (7616); Greenmountain Wind
       Holdings, LLC (N/A); Rattlesnake Flat Holdings, LLC (N/A); Somerset Wind Holdings, LLC (N/A); SunE
       Waiawa Holdings, LLC (9757); SunE Minnesota Holdings, LLC (8926); SunE MN Development Holdings,
       LLC (5388); and SunE MN Development, LLC (8669). The address of the Reorganized Debtors’ corporate
       headquarters is Two CityPlace Drive, 2nd floor, St. Louis, MO 63141.
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                        COMPLAINT TO: (I) AVOID AND RECOVER
                 TRANSFERS PURSUANT TO 11 U.S.C. §§ 547, 548 AND 550;
               AND (II) DISALLOW CLAIMS PURSUANT TO 11 U.S.C. § 502(d)

                  The SunEdison Litigation Trust, the plaintiff herein (the “Plaintiff”), alleges that:

                                          NATURE OF THE CASE

                  1.       Plaintiff seeks to avoid and recover from Defendant, or from any other

 person or entity for whose benefit the Preference Transfers 2 were made, all preferential transfers

 of property that occurred during the ninety (90) day period prior to the Petition Date. Subject to

 proof, Plaintiff also seeks to recover all fraudulent conveyances made to Defendant on or after

 September 1, 2015, pursuant to section 548 of the Bankruptcy Code. To the extent that

 Defendant filed a proof of claim or has a claim listed on the Debtors’ schedules as undisputed,

 liquidated and not contingent, or otherwise requested payment from the Debtors or the Debtors’

 chapter 11 estates, this complaint is not intended to be, nor should it be construed as, a waiver of

 Plaintiff’s right to object to such Claims for any reason, including pursuant to section 502 of the

 Bankruptcy Code, and such rights are expressly reserved. Notwithstanding this reservation of

 rights, certain relief pursuant to section 502 of the Bankruptcy Code is sought by Plaintiff herein

 as further stated below.

                                       JURISDICTION AND VENUE

                  2.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

 and 1334.

                  3.       This adversary proceeding is brought pursuant to Rule 7001, et seq. of the

 Federal Rules of Bankruptcy Procedure and sections 502(d), 547, 548 and 550 of title 11 of

 United States Code, 11 U.S.C. § 101, et seq. (the “Bankruptcy Code”). Plaintiff consents to the

 entry of final orders or judgements by the Court if it is determined that the Court, absent consent
 2
     Unless otherwise stated, Capitalized terms used herein are defined elsewhere in this complaint.


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 of the parties, cannot enter final orders or judgements consistent with Article III of the United

 States Constitution.

                4.       Venue in this Court is proper pursuant to 28 U.S.C. § 1409 as this

 adversary proceeding arises under and in connection with a case under the Bankruptcy Code

 which is pending in this District.

                5.       This is a core proceeding as defined by 28 U.S.C. § 157(b)(2)(A), (B), (F),

 (H) and (O).

                                          BACKGROUND

 A.     The Parties

                6.       Beginning on April 21, 2016 (the “Petition Date”), the above-captioned

 reorganized debtors (collectively, the “Debtors”) filed voluntary petitions for relief under

 chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the Southern

 District of New York (the “Court”).

                7.       On March 28, 2017, the Debtors filed their Joint Plan of Reorganization of

 SunEdison, Inc. and its Debtor Affiliates [Docket No. 2671] (as amended from time to time, the

 “Plan”).

                8.       On July 28, 2017, the Court entered the Findings of Facts, Conclusions of

 Law and Order Confirming Second Amended Plan of Reorganization of SunEdison, Inc. and its

 Debtor Affiliates [Docket No. 3735] (the “Confirmation Order”), thereby approving the Plan

 and the GUC/Litigation Trust Agreement (the “Litigation Trust Agreement”).

                9.       On December 29, 2017, the Plan became effective [Docket No. 4495] (the

 “Effective Date”).




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                 10.       Pursuant to the Plan, on the Effective Date, all of the Debtors’ rights, title

 and interests in the GUC/Litigation Trust Causes of Action (as defined in the Plan), were

 transferred to Plaintiff.

                 11.       Pursuant to the Plan, Plaintiff was authorized, as the representative of the

 Debtors’ estates, to pursue the GUC/Litigation Trust Causes of Action, including the causes of

 action asserted herein.

                 12.       Upon information and belief, Tokai Carbon USA Inc. (“Defendant”) was

 a creditor of the Debtors prior to the Petition Date.

                 13.       Plaintiff retains the right to enforce, sue on, settle or compromise all

 causes of action belonging to Plaintiff, including claims under sections 502(d), 547, 548 and 550

 of the Bankruptcy Code.

 B.      Events Leading to the Debtors’ Financial Collapse

                 14.       Beginning in May 2015, the Debtors announced a series of planned

 acquisitions (the “Planned Acquisitions”) that gave rise to billions of dollars of funding

 commitments, which were layered on top of the nearly $10 billion in debt that SunEdison, Inc.

 (“SunEdison”) was carrying at the end of the second quarter of 2015. In particular, in May

 2015, the Debtors announced an acquisition of South American renewable energy firm Latin

 America Power for approximately $700 million (the “LAP Acquisition”). Then, in July 2015,

 the Debtors announced an agreement to purchase twelve hydroelectric and wind projects in

 Brazil for approximately $4 billion from Renova Energia, S.A. (“Renova”), and to purchase

 $250 million in securities of Renova from a third party. Finally, also in July 2015, the Debtors

 announced an agreement to purchase residential rooftop solar power provider Vivant Solar for

 $2.2 billion. None of these transactions ultimately was consummated.




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                15.     Investors reacted negatively to the Debtors’ acquisition plans—and the

 proposed Vivant transaction in particular. Indeed, between July 15, 2015 and August 31, 2015,

 SunEdison’s stock value dropped 70%, while the stock values of companies in its peer group

 dropped just 10% to 15%. Thus, the drop in SunEdison’s stock price was not attributable merely

 to market conditions, but rather was due to the Debtors’ financial performance and capital

 structure.

                16.     The market also punished the share price of SunEdison’s “yieldco”

 subsidiary Terraform Power, Inc. (“TERP”), which in turn led to further deterioration in the

 Debtors’ liquidity position. In particular, in late July or early August 2015, additional funding

 requirements arose in connection with margin call requirements on a $400 million loan

 agreement tied to the value of TERP shares, which had decreased in value by approximately 25%

 in July 2015. In response to these margin calls, the Debtors were required to deposit $152

 million into an escrow account as collateral during the third quarter of 2015, and deposit an

 additional $91 million in October 2015.

                17.     In early August 2015, just weeks after announcing the Vivant transaction,

 the Debtors sought to raise $300 million in much-needed capital through an initial public

 offering (IPO) of shares of Terraform Global, Inc. (“Global”). However, the IPO failed and the

 Debtors were forced to contribute $30 million to fund the IPO short-fall. Moreover, the IPO

 saddled the Debtors with ongoing post-IPO financial and operational support obligations. The

 failed IPO furthered the rapid deterioration in the Debtors’ market capitalization and, as of late

 August 2015, several of SunEdison’s debt issuances were trading substantially below par (65-

 75%).




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                18.     SunEdison’s liquidity decreased during the third quarter of 2015 by

 approximately $200 million. Specifically, SunEdison’s “free” cash (excluding TERP and

 Global) declined from $461 million (as of June 30, 2015) to $308 million (as of September 30,

 2015), and its availability under its first lien credit facility declined from $84 million (as of June

 30, 2015) to $34 million (as of September 30, 2015). The situation had become critical, as

 SunEdison’s remaining cash was barely sufficient to cover its quarterly cash “burn” of $250-300

 million required to fund certain project development costs (pre-construction) and corporate

 overhead expenses. There was no cash left to fulfill other obligations, including those arising in

 connection with the Planned Acquisitions. For instance, after SunEdison failed to make a $355

 million upfront cash payment in September in connection with the LAP Acquisition, the deal fell

 apart and Latin America Power shareholders sued SunEdison for its failure to close the

 transaction.

                19.     In short, by September 1, 2015—and indeed well before that—SunEdison

 and its affiliated Debtors were insolvent and/or were no longer able to pay their debts as they

 came due, and had entered into transactions (i.e., the Planned Acquisitions) that they had no

 ability to consummate. During their chapter 11 cases, the Debtors sold all of their assets for less

 than $2 billion, demonstrating just how severe the Debtors’ financial crisis had become before

 they finally collapsed into chapter 11.

                20.     During the course of this proceeding, Plaintiff may learn (through

 discovery or otherwise) of additional transfers of an interest of the Debtors in property made to

 Defendant that may be recoverable under sections 547 or 548 of the Bankruptcy Code, including

 any transfers of an interest of the Debtors in property made to Defendant during the ninety (90)

 days preceding the Petition Date. It is Plaintiff’s intention to avoid and recover all such transfers




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 made by the Debtors. Plaintiff reserves the right to amend this original complaint to include:

 (i) further information regarding the Transfer(s); (ii) additional transfers; (iii) modifications of

 and/or revision to Defendant’s name; (iv) additional defendants; and /or (v) additional causes of

 action (collectively, the “Amendments”), that may become known to Plaintiff at any time during

 this adversary proceeding, through formal discovery or otherwise, and for the Amendments to

 relate back to this original complaint.

                                       CLAIMS FOR RELIEF

                                 FIRST CAUSE OF ACTION
                       (Avoidance and Recovery of Preferential Transfers)

                21.     Plaintiff repeats, realleges and incorporates by reference the allegations

 contained in all preceding paragraphs of this complaint as though set forth at length herein.

                22.     On or within the ninety (90) days preceding the Petition Date, the Debtors,

 as more particularly set forth on Exhibit A attached hereto, made, or caused to be made, one or

 more transfers to or for the benefit of Defendant, which transfers are listed on Exhibit A attached

 hereto and incorporated herein by reference (the “Preference Transfers”).

                23.     The Preference Transfers were of a property interest of the Debtors as

 identified in Exhibit A.

                24.     During the ninety days (90) preceding the Petition Date, Defendant was a

 creditor at the time of each Preference Transfer by virtue of supplying goods and/or services for

 which the identified Debtors were obligated to pay following delivery.

                25.     The Debtors made, or caused to be made, the Preference Transfers for, or

 on account of, antecedent debt(s) owed by the Debtors before such Preference Transfers were

 made.

                26.     The Preference Transfers were made while the Debtors were insolvent.



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                27.      The Preference Transfers enabled Defendant to receive more than

 Defendant would receive if: (a) the Debtors’ bankruptcy cases were administered under chapter 7

 of the Bankruptcy Code; (b) the Preference Transfers had not been made; and (c) Defendant

 received payment of such debt to the extent provided by the provisions of the Bankruptcy Code.

                28.      Interest on the Preference Transfers has accrued and continues to accrue

 from the date each of the Preference Transfers was made.

                29.      Defendant was the initial transferee of the Preference Transfers, or the

 entity for whose benefit the Preference Transfers were made, or was the immediate or mediate

 transferee of the initial transferee receiving the Preference Transfers.

                30.      The Preference Transfers, to the extent they are avoided pursuant to

 section 547(b) of the Bankruptcy Code, may be recovered by Plaintiff pursuant to section

 550(a)(1) of the Bankruptcy Code.

                                 SECOND CAUSE OF ACTION
                     (Avoidance and Recovery of 90-Day Fraudulent Transfers)

                31.      Plaintiff repeats, realleges and incorporates by reference the allegations

 contained in all preceding paragraphs of this complaint as though set forth at length herein.

                32.      Plaintiff pleads in the alternative that to the extent one or more of the

 transfers as identified on Exhibit A were not on account of antecedent debt (such transfers, the

 “90-Day Fraudulent Transfers”), the Debtors did not receive reasonably equivalent value in

 exchange for such 90-Day Fraudulent Transfers; and

                a.       The Debtors were insolvent on the dates that the 90-Day Fraudulent

                         Transfers were made or became insolvent as a result of the 90-Day

                         Fraudulent Transfers; or




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                b.       The Debtors engaged in business or a transaction, or were about to engage

                         in business or a transition, for which any property remaining with the

                         Debtors who made or for whose benefit the 90-Day Fraudulent Transfers

                         were made was an unreasonably small capital; or

                c.       The Debtors intended to incur, or believed that the Debtors would incur,

                         debts that would be beyond the Debtors’ ability to pay as such debts

                         matured.

                33.      The 90-Day Fraudulent Transfers were made to or for the benefit of

 Defendant within the one year prior to the Petition Date.

                34.      The 90-Day Fraudulent Transfers, to the extent they are avoided pursuant

 to section 548 of the Bankruptcy Code, may be recovered by Plaintiff pursuant to section

 550(a)(1) of the Bankruptcy Code.

                               THIRD CAUSE OF ACTION
                (Avoidance and Recovery of Additional Fraudulent Transfers)

                35.      Plaintiff repeats, realleges and incorporates by reference the allegations

 contained in all preceding paragraphs of this complaint as though set forth at length herein.

                36.      The transfers identified on Exhibit B were not on account of antecedent

 debt owed by the Debtor entity that made such transfers (such transfers, the “Additional

 Fraudulent Transfers” and, collectively with the Preference Transfers and the 90-Day

 Fraudulent Transfers, the “Transfers”) and the Debtor that made such Additional Fraudulent

 Transfers did not receive reasonably equivalent value in exchange for such Additional

 Fraudulent Transfer(s); and




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                 a.        The Debtors were insolvent on the date that the Additional Fraudulent

                           Transfers were made or became insolvent as a result of the Additional

                           Fraudulent Transfers; or

                 b.        The Debtors engaged in business or a transaction, or were about to engage

                           in business or a transition, for which any property remaining with the

                           Debtors who made or for whose benefit the Additional Fraudulent

                           Transfers were made was an unreasonably small capital; or

                 c.        The Debtors intended to incur, or believed that the Debtors would incur,

                           debts that would be beyond the Debtors’ ability to pay as such debts

                           matured.

                37.        The Additional Fraudulent Transfers were made to or for the benefit of

 Defendant within the one year prior to the Petition Date.

                38.        The Additional Fraudulent Transfers, to the extent they are avoided

 pursuant to section 548 of the Bankruptcy Code, may be recovered by Plaintiff pursuant to

 section 550(a)(1) of the Bankruptcy Code.

                                      FOURTH CAUSE OF ACTION
                                        (Disallowance of Claims)

                39.        Plaintiff repeats, realleges and incorporates by reference the allegations

 contained in all preceding paragraphs of this complaint as though set forth at length herein.

                40.        Defendant is the recipient of the Transfers, which are recoverable pursuant

 to sections 547, 548 and 550 of the Bankruptcy Code, and Defendant has not returned the

 Transfers to Plaintiff.

                41.        Based upon the foregoing and pursuant to section 502(d) of the

 Bankruptcy Code, the claims, if any, asserted by Defendant against the Debtors (collectively, the



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 “Claims”) must be disallowed since Defendant has not paid or surrendered the Transfers to

 Plaintiff.

                WHEREFORE, Plaintiff prays that the Court enter a judgment against Defendant:

                a.       On Plaintiff’s First Cause of Action, in favor of Plaintiff and against

 Defendant in an amount not less than the amount of the Preference Transfers, plus interest from

 the date of such Preference Transfers until full payment is made to Plaintiff, together with the

 costs and expenses of this action, including, without limitation, attorneys’ fees; and directing

 Defendant to turnover such sum to Plaintiff pursuant to sections 547(b) and 550(a) of the

 Bankruptcy Code;

                b.       On Plaintiff’s Second Cause of Action, in favor of Plaintiff and against

 Defendant in an amount not less than the amount of the 90-Day Fraudulent Transfers, plus

 interest from the date of such 90-Day Fraudulent Transfers until full payment is made to

 Plaintiff, together with the costs and expenses of this action, including, without limitation,

 attorneys’ fees; and directing Defendant to turnover such sum to Plaintiff pursuant to sections

 548(a)(1)(B) and 550(a) of the Bankruptcy Code;



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                c.       On Plaintiff’s Third Cause of Action, in favor of Plaintiff and against

 Defendant in an amount not less than the amount of the Additional Fraudulent Transfers, plus

 interest from the date of such Additional Fraudulent Transfers until full payment is made to

 Plaintiff, together with the costs and expenses of this action, including, without limitation,

 attorneys’ fees; and directing Defendant to turnover such sum to Plaintiff pursuant to sections

 548(a)(1)(B) and 550(a) of the Bankruptcy Code;

                d.       On Plaintiff’s Fourth Cause of Action, in favor of Plaintiff and against

 Defendant disallowing the Claims pursuant to section 502(d) of the Bankruptcy Code unless and

 until Defendant returns the Transfers to Plaintiff; and

                e.       Granting such other and further relief as the Court may deem just and

 proper.


 Dated: New York, New York
        April 18, 2018

                                                COLE SCHOTZ P.C.


                                                /s/ David R. Hurst
                                                David R. Hurst
                                                Daniel F.X. Geoghan
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                                                New York, New York 10019
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                                                Counsel to the SunEdison Litigation Trust




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Debtors:             SunEdison, Inc., et al.
Case No.:            16-10992 (SMB)                                                         EXHIBIT A
Bankruptcy Court:    Southern District of New York
Preference Period:   1/22/16 to 4/20/16

                                                                                   PAID INVOICE   PAID INVOICE   PAID INVOICE
                       TRANSFEREE                                 TRANSFEROR                                                    PAYMENT DATE     PAYMENT NUMBER       PAYMENT AMOUNT
                                                                                       DATE         NUMBER        AMOUNT
Tokai Carbon USA Inc.                                SunEdison, Inc.                                                                 1/29/2016                    $           302,239.00
                                                     SunEdison, Inc.                                                                 1/29/2016                    $           302,239.00
                                                     SunEdison, Inc.                                                                 2/29/2016                    $            99,918.00
                                                     SunEdison, Inc.                                                                 2/29/2016                    $             4,397.00
                                                     SunEdison, Inc.                                                                 2/29/2016                    $            99,918.00
                                                     SunEdison, Inc.                                                                 2/29/2016                    $             4,397.00
                                                                                                                                                                  $           813,108.00
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Debtors:            SunEdison, Inc., et al.
Case No.:           16-10992 (SMB)                                                           EXHIBIT B
Bankruptcy Court:   Southern District of New York
                                                                                      PAID INVOICE                              PAID INVOICE                      PAYMENT           PAYMENT
               TRANSFEREE                                  TRANSFEROR                                 PAID INVOICE NUMBER                        PAYMENT DATE
                                                                                          DATE                                   AMOUNT                           NUMBER            AMOUNT
Tokai Carbon USA Inc.                        SunEdison, Inc.                                7/10/2015       IN00014351      $         4,664.00       9/17/2015                  $       4,664.00
                                             SunEdison, Inc.                                7/10/2015       IN00014350      $        37,572.00       9/17/2015                  $      37,572.00
                                             SunEdison, Inc.                                 7/2/2015       IN00014348      $         3,368.00       10/6/2015                  $       3,368.00
                                             SunEdison, Inc.                                7/14/2015       IN00014367      $         8,040.00       10/6/2015                  $       8,040.00
                                             SunEdison, Inc.                                7/30/2015       IN00014444      $       256,449.00       10/6/2015                  $     256,449.00
                                             SunEdison, Inc.                                 6/4/2015       IN00014213      $         8,794.00       10/7/2015                  $       8,794.00
                                             SunEdison, Inc.                                 6/4/2015       IN00014214      $         8,650.00       10/7/2015                  $       8,650.00
                                             SunEdison, Inc.                                 6/4/2015       IN00014215      $        11,250.00       10/7/2015                  $      11,250.00
                                             SunEdison, Inc.                                 6/4/2015       IN00014216      $        10,875.00       10/7/2015                  $      10,875.00
                                             SunEdison, Inc.                                 6/5/2015       IN00014217      $         5,551.00       10/7/2015                  $       5,551.00
                                             SunEdison, Inc.                                 6/9/2015       IN00014239      $         4,397.00       10/7/2015                  $       4,397.00
                                             SunEdison, Inc.                                6/17/2015       IN00014264      $         3,012.00       10/7/2015                  $       3,012.00
                                             SunEdison, Inc.                                6/18/2015       IN00014265      $         7,028.00       10/7/2015                  $       7,028.00
                                             SunEdison, Inc.                                6/18/2015       IN00014266      $        11,250.00       10/7/2015                  $      11,250.00
                                             SunEdison, Inc.                                6/23/2015       IN00014281      $         4,325.00       10/7/2015                  $       4,325.00
                                             SunEdison, Inc.                                6/23/2015       IN00014283      $        51,473.00       10/7/2015                  $      51,473.00
                                             SunEdison, Inc.                                6/22/2015       IN00014277      $         9,500.00       10/7/2015                  $       9,500.00
                                             SunEdison, Inc.                                6/22/2015       IN00014278      $        26,125.00       10/7/2015                  $      26,125.00
                                             SunEdison, Inc.                                6/22/2015       IN00014279      $         8,794.00       10/7/2015                  $       8,794.00
                                             SunEdison Products Singapore SPE Ltd.          9/24/2015       IN00014637      $       269,953.00      11/30/2015   ICMIL 911077   $     269,953.00
                                             SunEdison Products Singapore SPE Ltd.          9/25/2015       IN00014638      $        32,286.00      11/30/2015   ICMIL 911077   $      32,286.00
                                             SunEdison Products Singapore SPE Ltd.          9/22/2015       IN00014632      $         3,894.00       12/1/2015   ICMIL 911739   $       3,894.00
                                             SunEdison Products Singapore SPE Ltd.          9/22/2015       IN00014633      $         7,788.00       12/1/2015   ICMIL 911739   $       7,788.00
                                             SunEdison Products Singapore SPE Ltd.        10/30/2015        IN00014783      $       257,178.00       12/1/2015   ICMIL 911739   $     257,178.00
                                             SunEdison Products Singapore SPE Ltd.          8/31/2015       IN00014559      $         4,397.00       12/1/2015   ICMIL 911739   $       4,397.00
                                             SunEdison Products Singapore SPE Ltd.          9/15/2015       IN00014606      $        60,753.00       12/1/2015   ICMIL 911739   $      60,753.00
                                             SunEdison Products Singapore SPE Ltd.        10/30/2015        IN00014775      $         5,522.00       12/1/2015   ICMIL 911739   $       5,522.00
                                             SunEdison Products Singapore SPE Ltd.        10/30/2015        IN00014776      $         7,566.00       12/1/2015   ICMIL 911739   $       7,566.00
                                             SunEdison Products Singapore SPE Ltd.          11/4/2015       IN00014788      $         2,460.00       12/1/2015   ICMIL 911739   $       2,460.00
                                             SunEdison Products Singapore SPE Ltd.          11/4/2015       IN00014789      $         3,783.00       12/1/2015   ICMIL 911739   $       3,783.00
                                             SunEdison Products Singapore SPE Ltd.          11/4/2015       IN00014790      $         7,574.00       12/1/2015   ICMIL 911739   $       7,574.00
                                             SunEdison Products Singapore SPE Ltd.        10/20/2015        IN00014728      $        12,260.00       12/1/2015   ICMIL 911739   $      12,260.00
                                             SunEdison, Inc.                                2/27/2015       IN00013863      $        14,769.00      12/14/2015                  $      14,769.00
                                             SunEdison, Inc.                                3/28/2015       IN00013977      $        56,344.00      12/14/2015                  $      56,344.00
                                             SunEdison, Inc.                                9/22/2015       IN00014633      $         7,788.00      12/14/2015                  $       7,788.00
                                             SunEdison, Inc.                                9/22/2015       IN00014632      $         3,894.00      12/14/2015                  $       3,894.00
                                             SunEdison, Inc.                                2/27/2015       IN00013864      $        49,681.00      12/14/2015                  $      49,681.00
                                             SunEdison, Inc.                                6/25/2015       IN00014305      $         4,604.00      12/14/2015                  $       4,604.00
                                                                                                                                                                                $   1,293,611.00
